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 1
                                                            THE HONORABLE RICHARD A. JONES
 2

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 6

 7                            UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9   STEVE TEIXEIRA,
                                                            Case No.: 2:24-CV-01032-RAJ
10                  Plaintiff,
            v.                                              STIPULATED PROTECTIVE ORDER
11
     MOZILLA CORPORATION a.k.a. M.F.
12   Technologies, a California corporation;
     MOZILLA FOUNDATION, a California
13
     public benefit corporation; LAURA
14   CHAMBERS and her marital community;
     WINIFRED MITCHELL BAKER and her
15   marital community, and DANI CHEHAK and
     her marital community,
16
                    Defendants.
17

18
     1.     PURPOSES AND LIMITATIONS
19
            Discovery in this action is likely to involve production of confidential, proprietary, or
20
     private information for which special protection may be warranted. Accordingly, the parties
21
     hereby stipulate to and petition the court to enter the following Stipulated Protective Order. The
22

23   parties acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket

24   protection on all disclosures or responses to discovery, the protection it affords from public
25   disclosure and use extends only to the limited information or items that are entitled to
26

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 1
     confidential treatment under the applicable legal principles, and it does not presumptively entitle
 2
     parties to file confidential information under seal.
 3
     2.     “CONFIDENTIAL” MATERIAL
 4
            “Confidential” material shall include the following documents and tangible things
 5

 6   produced or otherwise exchanged: Company product plans and strategy maintained as

 7   confidential, third party product plans maintained as confidential, reports and audits prepared by

 8   outside counsel and Company consultants maintained as confidential, certain employment
 9
     strategy documents, including those surrounding any Company wide reduction in force,
10
     information that reveals trade secrets, information prohibited from disclosure by statute or
11
     contractual agreement, research, development, technical, commercial, financial, or corporate
12
     information that the party has maintained as confidential, income tax returns and forms,
13

14   personnel or employment records of a person who is not a party to the case, policy briefings and

15   analysis maintained as confidential, plaintiff’s medical records, and plaintiff’s personal financial
16   information.
17
     3.     SCOPE
18
            The protections conferred by this agreement cover not only confidential material (as
19
     defined above), but also (1) any information copied or extracted from confidential material; (2)
20
     all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
21

22   conversations, or presentations by parties or their counsel that might reveal confidential material.

23          However, the protections conferred by this agreement do not cover information that is in

24   the public domain or becomes part of the public domain through trial or otherwise, assuming
25   such disclosure was not in breach of this Protective Order.
26
     4.     ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

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 1
            4.1     Basic Principles. A receiving party may use confidential material that is disclosed
 2
     or produced by another party or by a non-party in connection with this case only for prosecuting,
 3
     defending, or attempting to settle this litigation. Confidential material may be disclosed only to the
 4
     categories of persons and under the conditions described in this agreement. Confidential material
 5
     must be stored and maintained by a receiving party at a location and in a secure manner that ensures
 6
     that access is limited to the persons authorized under this agreement.
 7
            4.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
 8
     by the court or permitted in writing by the designating party, a receiving party may disclose any
 9
     confidential material only to:
10
                    (a)     the receiving party’s counsel of record in this action, as well as employees
11
     of counsel to whom it is reasonably necessary to disclose the information for this litigation,
12
     including paralegals and assistants;
13
                    (b)     the officers, directors, and employees (including in house counsel) of the
14
     receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties
15
     agree that a particular document or material produced is for Attorney’s Eyes Only and is so
16
     designated;
17
                    (c)     experts and consultants to whom disclosure is reasonably necessary for this
18
     litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
19
                    (d)     the court, court personnel, and court reporters and their staff;
20
                    (e)     copy or imaging services retained by counsel to assist in the duplication of
21
     confidential material, provided that counsel for the party retaining the copy or imaging service
22
     instructs the service not to disclose any confidential material to third parties and to immediately
23
     return all originals and copies of any confidential material;
24
                    (f)     during their depositions, witnesses in the action to whom disclosure is
25
     reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
26
     (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of

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 1
     transcribed deposition testimony or exhibits to depositions that reveal confidential material must
 2
     be separately bound by the court reporter and may not be disclosed to anyone except as permitted
 3
     under this agreement;
 4
                     (g)     the author or recipient of a document containing the information or a
 5
     custodian or other person who otherwise possessed or knew the information.
 6
             4.3     Filing Confidential Material. Before filing confidential material or discussing or
 7
     referencing such material in court filings, the filing party shall confer with the designating party,
 8
     in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will
 9
     remove the confidential designation, whether the document can be redacted, or whether a motion
10
     to seal or stipulation and proposed order is warranted. During the meet and confer process, the
11
     designating party must identify the basis for sealing the specific confidential information at issue,
12
     and the filing party shall include this basis in its motion to seal, along with any objection to sealing
13
     the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and
14
     the standards that will be applied when a party seeks permission from the court to file material
15
     under seal. A party who seeks to maintain the confidentiality of its information must satisfy the
16
     requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.
17
     Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with
18
     the strong presumption of public access to the Court’s files.
19
     5.      DESIGNATING PROTECTED MATERIAL
20
             5.1     Exercise of Restraint and Care in Designating Material for Protection. Each party
21
     or non-party that designates information or items for protection under this agreement must take
22
     care to limit any such designation to specific material that qualifies under the appropriate
23
     standards. The designating party must designate for protection only those parts of material,
24
     documents, items, or oral or written communications that qualify, so that other portions of the
25
     material, documents, items, or communications for which protection is not warranted are not swept
26
     unjustifiably within the ambit of this agreement.

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 1
            Mass, indiscriminate, or routinized designations are prohibited. Designations that are
 2
     shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
 3
     unnecessarily encumber or delay the case development process or to impose unnecessary
 4

 5   expenses and burdens on other parties) expose the designating party to sanctions.

 6          If it comes to a designating party’s attention that information or items that it designated

 7   for protection do not qualify for protection, the designating party must promptly notify all other
 8
     parties that it is withdrawing the mistaken designation.
 9
            5.2     Manner and Timing of Designations. Except as otherwise provided in this
10
     agreement (see, e.g., second paragraph of section 5.2(b) below), or as otherwise stipulated or
11
     ordered, disclosure or discovery material that qualifies for protection under this agreement must
12
     be clearly so designated before or when the material is disclosed or produced.
13
                    (a)     Information in documentary form: (e.g., paper or electronic documents and
14
     deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),
15
     the designating party must affix the word “CONFIDENTIAL” to each page that contains
16
     confidential material. If only a portion or portions of the material on a page qualifies for protection,
17
     the producing party also must clearly identify the protected portion(s) (e.g., by making appropriate
18
     markings in the margins).
19
                    (b)     Testimony given in deposition or in other pretrial proceedings: the parties
20
     and any participating non-parties must identify on the record, during the deposition or other pretrial
21
     proceeding, all protected testimony, without prejudice to their right to so designate other testimony
22
     after reviewing the transcript. Any party or non-party may, within fifteen days after receiving the
23
     transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or
24
     exhibits thereto, as confidential. If a party or non-party desires to protect confidential information
25
     at trial, the issue should be addressed during the pre-trial conference.
26
                    (c)     Other tangible items: the producing party must affix in a prominent place
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 1
     on the exterior of the container or containers in which the information or item is stored the word
 2
     “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,
 3
     the producing party, to the extent practicable, shall identify the protected portion(s).
 4
            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
 5
     designate qualified information or items does not, standing alone, waive the designating party’s
 6
     right to secure protection under this agreement for such material. Upon timely correction of a
 7
     designation, the receiving party must make reasonable efforts to ensure that the material is treated
 8
     in accordance with the provisions of this agreement.
 9
     6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
10
            6.1     Timing of Challenges. Any party or non-party may challenge a designation of
11
     confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
12
     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
13
     burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
14
     challenge a confidentiality designation by electing not to mount a challenge promptly after the
15
     original designation is disclosed.
16
            6.2     Meet and Confer. The parties must make every attempt to resolve any dispute
17
     regarding confidential designations without court involvement. Any motion regarding confidential
18
     designations or for a protective order must include a certification, in the motion or in a declaration
19
     or affidavit, that the movant has engaged in a good faith meet and confer conference with other
20
     affected parties in an effort to resolve the dispute without court action. The certification must list
21
     the date, manner, and participants to the conference. A good faith effort to confer requires a face-
22
     to-face meeting or a telephone conference.
23
            6.3     Judicial Intervention. If the parties cannot resolve a challenge without court
24
     intervention, the designating party may file and serve a motion to retain confidentiality under Local
25
     Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
26
     persuasion in any such motion shall be on the designating party. Frivolous challenges, and those

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 1
     made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
 2
     other parties) may expose the challenging party to sanctions. All parties shall continue to maintain
 3
     the material in question as confidential until the court rules on the challenge.
 4
     7.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
 5
     LITIGATION
 6
            If a party is served with a subpoena or a court order issued in other litigation that compels
 7
     disclosure of any information or items designated in this action as “CONFIDENTIAL,” that
 8
     party must:
 9

10                  (a)     promptly notify the designating party in writing and include a copy of the

11   subpoena or court order;

12                  (b)     promptly notify in writing the party who caused the subpoena or order to

13   issue in the other litigation that some or all of the material covered by the subpoena or order is

14   subject to this agreement. Such notification shall include a copy of this agreement; and

15                  (c)     cooperate with respect to all reasonable procedures sought to be pursued by

16   the designating party whose confidential material may be affected.

17   8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

18          If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential

19   material to any person or in any circumstance not authorized under this agreement, the receiving

20   party must immediately (a) notify in writing the designating party of the unauthorized
21
     disclosures, (b) use its best efforts to retrieve all unauthorized copies of the protected material,
22
     (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of
23
     this agreement, and (d) request that such person or persons execute the “Acknowledgment and
24
     Agreement to Be Bound” that is attached hereto as Exhibit A.
25

26

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 1
     9.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
 2
     MATERIAL
 3
            When a producing party gives notice to receiving parties that certain inadvertently
 4
     produced material is subject to a claim of privilege or other protection, the obligations of the
 5
     receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
 6

 7   provision is not intended to modify whatever procedure may be established in an e-discovery

 8   order or agreement that provides for production without prior privilege review. The parties agree

 9   to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
10
     10.    NON TERMINATION AND RETURN OF DOCUMENTS
11
            Within 60 days after the termination of this action, including all appeals, each receiving
12
     party must return all confidential material to the producing party, including all copies, extracts
13
     and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
14
     destruction.
15

16          Notwithstanding this provision, counsel are entitled to retain one archival copy of all

17   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
18   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
19
     work product, even if such materials contain confidential material.
20
            The confidentiality obligations imposed by this agreement shall remain in effect until a
21
     designating party agrees otherwise in writing or a court orders otherwise.
22

23

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 1
           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 2

 3   DATED: September 11, 2024                     DATED: September 11, 2024
 4   STOKES LAWRENCE, P.S.                         SEBRIS BUSTO JAMES
 5
     By: /s/Amy Alexander                     By: /s/Amanda V. Masters per 9.10.24 email
 6      Amy Alexander (WSBA # 44242)          authority
        Mathew Harrington (WSBA # 33276)           Darren A. Feider (WSBA # 22430)
 7      Maricarmen Perez-Vargas (WSBA #            Amanda V. Masters (WSBA No. 46342)
        54344)                                     15375 SE 30th Pl., STE 310
 8
        1420 Fifth Avenue, Ste 3000                Bellevue, Washington 98007
 9      Seattle, WA 98101                          Tele: 425-454-4233
        Tele: 206-626-6000                         Fax: 425-453-9005
10      Fax: 206-464-1496                          dfeider@sbj.law
        Amy.alexander@stokeslaw.com                amasters@sbj.law
11      Mathew.harrington@stokeslaw.com
        Maricarmen.perez-vargas@stokeslaw.com      Attorneys for Defendant Mozilla
12
                                                   Foundation
13       Attorneys For Plaintiff

14   DATED: September 11, 2024
15   DLA PIPER LLP (US)
16
     By:/s/Alexandria Cates per 9.10.24 email
17   authority
         Anthony Todaro (WSBA # 30391)
18       Alexandria Cates (WSBA # 53786)
         701 5th Ave, Ste 6900
19       Seattle, WA 98104
20       Tele: 206-839-4800
         Fax: 206-839-4801
21       Anthony.todaro@us.dlapiper.com
         Alexandria.cates@us.dlapiper.com
22
          Attorneys for Defendants Mozilla Corp,
23        Laura Chambers, Winifred Mitchell
24        Baker, and Dani Chehak

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 1
                          PURSUANT TO STIPULATION, IT IS SO ORDERED
 2
            IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
 3
     documents, electronically stored information (ESI) or information, whether inadvertent or
 4

 5   otherwise, in this proceeding shall not, for the purposes of this proceeding or any other federal or

 6   state proceeding, constitute a waiver by the producing party of any privilege applicable to those

 7   documents, including the attorney-client privilege, attorney work-product protection, or any
 8
     other privilege or protection recognized by law. This Order shall be interpreted to provide the
 9
     maximum protection allowed by Fed. R. Evid. 502(d). The provisions of Fed. R. Evid. 502(b)
10
     do not apply. Nothing contained herein is intended to or shall serve to limit a party’s right to
11
     conduct a review of documents, ESI or information (including metadata) for relevance,
12

13   responsiveness and/or segregation of privileged and/or protected information before production.

14   Information produced in discovery that is protected as privileged or work product shall be
15   immediately returned to the producing party.
16

17
            DATED:
18

19

20                                                  Richard A. Jones
                                                    United States District Court Judge
21

22

23

24

25

26

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 1                                               EXHIBIT A

 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

             I, ____________________________________ [print or type full name], of
 3
     ___________________________________ [print or type full address], declare under penalty of
 4
     perjury that I have read in its entirety and understand the Stipulated Protective Order that was
 5
     issued by the United States District Court for the Western District of Washington on
 6
     _______[date] in the case of Steve Teixeira v. Mozilla Corporation, a.k.a. M.F. Technologies, a
 7
     California corporation; Mozilla Foundation, a California public benefit corporation; Laura
 8
     Chambers and her marital community; Winifred Mitchell Baker and her marital community, and
 9
     Dani Chehak and her marital community, Cause No. 2:24-cv-01032-RAJ. I agree to comply with
10
     and to be bound by all the terms of this Stipulated Protective Order and I understand and
11
     acknowledge that failure to so comply could expose me to sanctions and punishment in the
12
     nature of contempt. I solemnly promise that I will not disclose in any manner any information or
13
     item that is subject to this Stipulated Protective Order to any person or entity except in strict
14
     compliance with the provisions of this Order.
15
             I further agree to submit to the jurisdiction of the United States District Court for the
16
     Western District of Washington for the purpose of enforcing the terms of this Stipulated
17
     Protective Order, even if such enforcement proceedings occur after termination of this action.
18
     Date:
19
     City and State where sworn and signed:
20
     Printed name:
21
     Signature:
22

23

24

     STIPULATED PROTECTIVE ORDER
     CASE NUMBER 2:24-cv-01032-RAJ - 11
